                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO
JOHN VIGIL,

       Plaintiff,

v.                                                 Case No. 1:18-CV-00829-SCY-JFR

FRANCES TWEED, et al.,

       Defendants.


                        RESPONSE OPPOSING MOTION FOR
                         ENTRY OF A PARTIAL JUDGMENT

       Defendants Frances Tweed, Antonio Coca, Joe Chavez, Corrine Dominguez

and the New Mexico Behavioral Health Institute (“State Defendants”) oppose

Plaintiff’s Motion for Entry of a Partial Judgment (Doc 74), which seeks a Rule

54(b) certification from this Court for an interlocutory appeal of its recent

Memorandum Opinion and Order dismissing Plaintiff’s Fourth Amendment and

state law claims against the State Defendants. 1 (Doc 66 filed 6-16-20)

       The Court’s order is not suitable for Rule 54(b) certification. The Court of

Appeals would lack jurisdiction over the appeal because the order is not final.

Further, Plaintiff Vigil has failed to show that there is “no just reason for delay”, a

finding the Court must make to certify the decision for appeal. See Fed.R.Civ.P.

54(b). Therefore, the Court should deny Vigil’s motion.




1Vigil states that he only seeks Rule 54(b) certification on the rulings related the State
Defendants, not the County Defendants. (Doc 74 at 5)
1. Background

       The Court will recall that the Plaintiff John Vigil originally asserted claims

against the State Defendants alleging that they acted unreasonably in relying on

anonymous notes in conducting a workplace search of his desk and lockers at the

New Mexico Behavioral Health Institute. Vigil’s first amended complaint included

Section 1983 claims under the Fourth Amendment for unreasonable search and

seizure, malicious prosecution, First Amendment retaliation and analogous state

law claims. According to the complaint, these claims all arise from the same set of

operative facts. He alleged that the defendants conspired to retaliate against him

for supporting his domestic partner in a litigation against the NMBHI as well as his

alleged speech related to the classification and housing of patients at the NMBHI.

(See First Amended Complaint, Doc 1-4 at ¶ 3-38) Vigil contends that the workplace

searches, along with later contacts and assistance with law enforcement, led to his

prosecution for possession of controlled substances at work. (Id.)

       The State Defendants initially filed a motion to dismiss, seeking qualified

immunity on all the federal claims. (Doc 16) The State Defendants also asserted

that the New Mexico Tort Claims Act (“NMTCA”) provides immunity to these

defendants for the state law claims. (Id.) Vigil’s response principally addressed the

First and Fourth Amendment claims, along with the state law claims. (See Doc 23)

Vigil conceded that his first amended complaint did not assert a viable cause of

action for malicious prosecution against the State Defendants. (Id. at page 10)




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       The Court granted the State Defendants’ motion to dismiss, determining that

they were entitled to qualified immunity on Vigil’s Fourth Amendment office search

claim as well as the First Amendment claim. (See Memorandum Opinion, Doc 30)

The Court also held that the NMTCA did not waive immunity for the State

Defendants on the state law claims. (Id.) The Court did not address the federal

malicious prosecution claim because the plaintiff had previously agreed to dismiss

that claim against the State Defendants. (Id. at 5)

       Vigil then obtained leave of Court to amend his complaint. (See Doc 37) In his

second amended complaint, Vigil ramped up his factual allegations, averring that

the defendants fabricated the anonymous notes and planted evidence, including a

pill in his office drawer. (See Doc 38) Again, the entire course of the alleged

conspiracy by the defendants from fabricating the notes, planting the pill,

contacting and assisting law enforcement and so on constituted the factual basis for

his unreasonable search, malicious prosecution and First Amendment retaliation

claims as well as accompanying state claims. (Id.)

       The County Defendants moved for dismissal and, in particular, argued that

the judges in the state criminal proceedings determined there was probable cause

for his arrest, a finding that vitiates an element of Vigil’s malicious prosecution

claim. (See Doc 49) The State Defendants moved for judgment on the pleadings,

contending that Vigil’s new factual allegations about fabricating and planting

evidence were untimely under the applicable statute of limitations and did not

relate back under the provisions of Rule 15. (See Doc 50) The State Defendants also


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joined in the County’s motion concerning probable cause. (Doc 50 at 19) In addition,

the State Defendants sought qualified immunity under all the federal claims,

including the malicious prosecution counts for additional reasons. (See Id. at 16-

18)(arguing that plaintiff previously conceded the futility of the malicious

prosecution claim; the complaint lacked allegations that the State Defendant’s acted

under color of law; there is no clearly established precedent showing that the

alleged contacts with law enforcement constitute a basis for malicious prosecution,

and that plaintiff’s allegations did not dispense with all the grounds supporting the

probable cause determination).

       This brings us to the current Memorandum Opinion and Order (Doc 66),

which is the subject of the Plaintiff Vigil’s motion for Rule 54(b) certification. The

Court granted in part the State Defendants’ motion for judgment on the pleadings.

(See id.) The Court determined that the new factual allegations about fabricating

notes and planting evidence were untimely and did not relate back. (Id.)

Accordingly, the Court observed that the plaintiff’s complaint in Count I was

essentially in the same posture that it was when the Court entered its previous

Memorandum Opinion and Order. (Id. at 12) The defendants were therefore entitled

to qualified immunity on the Fourth Amendment search claim. (Id.) The Court held,

however, that the plaintiff’s second amended complaint cured previous deficiencies

in the First Amendment retaliation claim by clarifying plaintiff’s alleged protected

speech on a matter of public concern. (Id.) The Court again dismissed the state law

claims based on the application of the New Mexico Tort Claims Act. (Id.)


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       As to the Fourth Amendment malicious prosecution claim, the Court’s

Memorandum Opinion focused on the County Defendants’ arguments about the

preclusive effect of the probable cause determination by the Magistrate Court and

State District Court Judges in the criminal matter. (See Doc 66 at 22-30) The Court

determined that the finding of probable cause is entitled to preclusive effect, and

that collateral estoppel forecloses the federal malicious prosecution claim against

both the State and County Defendants. (Id.) In doing so, the Court did not take up

the alternative grounds for dismissing the federal malicious prosecution count

against the State Defendants. (Id.)

       According to plaintiff’s motion for entry of a partial summary judgment, Vigil

apparently seeks to appeal the Court’s determination about the preclusive effect of

the probable cause determination solely as to the State but not County Defendants.

(See Doc 74) This affects only the Fourth Amendment malicious prosecution claim.

It is not clear from the plaintiff’s motion whether the plaintiff also seeks an appeal

of the dismissal of the Fourth Amendment office search claim or the various state

law claims. For the purposes of this response, the defendants assume that Vigil may

also wish to appeal those rulings.

2. Law On Rule 54(b) Certification

       Normally, the Tenth Circuit Court of Appeals waits “for a district court to

resolve all the claims presented in a case before entertaining any appeal.” CCPS

Transp., LLC v. Sloan, 611 Fed. Appx. 931, 932 (10th Cir. 2015) (J. Gorsuch,

unpublished) (citing 28 U.S.C. § 1291; Moya v. Schollenbarger, 465 F.3d 444, 450-51


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(10th Cir. 2006)). Federal Rule of Civil Procedure 54(b) provides an exception to this

rule, permitting the district court to certify for appeal that it has resolved one claim

among many and that the claim in question deserves immediate appellate

attention. Id.

       "The purpose of Rule 54(b) is to avoid the possible injustice of a delay in

entering judgment on a distinctly separate claim or as to fewer than all of the

parties until the final adjudication of the entire case by making an immediate

appeal available." Okla. Tpk. Auth. v. Bruner, 259 F.3d 1236, 1241 (10th Cir. 2001).

Rule 54(b) "may be invoked only in a relatively select group of cases and applied to

an even more limited category of decisions." Weinman v. Fid. Capital Appreciation

Fund (In re Integra Realty Res., Inc., 262 F.3d 1089, 1107 (10th Cir. 2001). District

courts should be reluctant to certify orders under Rule 54(b) because "the purpose of

this rule is a limited one: to provide a recourse for litigants when dismissal of less

than all their claims will create undue hardships." Bruner, 259 F.3d at 1242

(quoting Gas-A-Car, Inc. v. Am. Petrofina, Inc., 484 F.2d 1102, 1105 (10th Cir.

1973)).

       To properly certify an order as final under Rule 54(b), the district court must

make two express determinations in its certification order: first, that its judgment is

final, and second, that no just reason exists to delay entry of its judgment. New

Mexico v. Trujillo, 813 F.3d 1308, 1316 (10th Cir. 2016). District courts should

"clearly articulate their reasons and make careful statements based on the record

supporting their determination of 'finality' and 'no just reason for delay' so that we


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can review a 54(b) order more intelligently and thus avoid jurisdictional remands."

Stockman's Water Co. v. Vaca Partners, 425 F.3d 1263, 1265 (10th Cir. 2005). The

Tenth Circuit applies a two-tiered standard of review to a district court's Rule 54(b)

certification. See Bruner, 259 F.3d at 1242 (citations omitted). The district court's

determination of the certified order's finality is subject to de novo review because it

is a question of law; however, the court's determination that there is no just reason

for delay is reviewed only for abuse of discretion. Id.

       Factors for the district court to consider in making an express determination

of finality and no just reason for delay include "whether the claims under review

[are] separable from the others remaining to be adjudicated and whether the nature

of the claims already determined [is] such that no appellate court would have to

decide the same issues more than once even if there were subsequent appeals."

Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 8, 100 S. Ct. 1460, 64 L. Ed. 2d 1

(1980); see also Stockman's Water, 425 F.3d at 1265. Instead of announcing a

"bright-line" test for discerning the existence of multiple claims in this context, the

Supreme Court has alluded generally to the concept of "separate, distinct, and

independent" claims. Waltman v. Georgia-Pacific, LLC, 590 Fed. Appx. 799, 810-811

(10th Cir. 2014) (citing Curtiss-Wright Corp., 446 U.S. at 6). The Court has for some

time "recognize[d] that a complaint asserting only one legal right, even if seeking

multiple remedies for the alleged violation of that right, states a single claim for

relief." Id. (quoting Liberty Mut. Ins. Co., 424 U.S. at 743 n.4.).




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       The inquiry focuses on practical concerns, "particularly the question whether

a subsequent appeal of the claims before the district court will require the court of

appeals to revisit the same issues decided in the first appeal." Jordan v. Pugh, 425

F.3d 820, 827 (10th Cir. 2005) "To determine whether separate appeals will be

redundant, courts consider whether the allegedly separate claims turn on the same

factual questions, whether they involve common legal issues, and whether separate

recovery is possible." Id. (citation and quotation omitted) “While the exact definition

of "claim" for purposes of Rule 54(b) is unsettled, a claim is generally understood to

include all factually or legally connected elements of a case. . . .” Bruner, 259 F.3d at

1242 (citations omitted) “[A] judgment is not final for the purposes of Rule 54(b)

unless the claims resolved are distinct and separable from the claims left

unresolved.” Id. at 1243.

       In addition to determining finality, a certification order must include the

district court's express determination "that there is no just reason for delay." Fed.

R. Civ. P. 54(b); see Elm Ridge Exploration Co. v. Engle, 721 F.3d 1199, 1209 n.5

(10th Cir. 2013). Rule 54(b) certification "is only appropriate when a district court

adheres strictly to the rule's requirement" of making this express determination.

Bruner, 259 F.3d at 1242 (emphasis added). " Substance prevails over form; that is,

labeling an order a "Rule 54(b) certification" has no operative legal effect. See, e.g.,

Wheeler Mach. Co. v. Mountain States Mineral Enters., Inc., 696 F.2d 787, 789

(10th Cir. 1983) (concluding that, where the order in question was "not a final

order," "the district court could not make it final by certifying it as such under Rule


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54(b).” "Not all final judgments on individual claims should be immediately

appealable, even if they are in some sense separable from the remaining unresolved

claims." Curtiss-Wright Corp., 446 U.S. at 8.

       In making these determinations, the district court should act as a 'dispatcher'

weighing Rule 54(b)'s policy of preventing piecemeal appeals against the inequities

that could result from delaying an appeal." Stockman's Water, 425 F.3d at 1265.

(citations omitted). “[I]n the long run it will be less wasteful and more efficient for

district and appellate courts to adhere to the rule that only separate and distinct

claims can be isolated for appeal under Rule 54(b). Jordan, 425 F.3d at 829.

Interrelated legal claims and alternative theories for recovery should be litigated

together and appealed together. Id.

3. The Court’s Memorandum Opinion Is Not Final For The Purposes of Rule 54(b).

       Plaintiff’s motion seeks certification to take up this Court’s decision that the

state district court’s previous probable cause determination precludes Vigil’s civil

malicious prosecution claim under the doctrine of collateral estoppel. (Doc 74 at 13)

Vigil’s motion, however, does not address the threshold issue of whether the

Memorandum Opinion is “final” for the purposes of the Rule 54(b) certification.

       Based on the Tenth Circuit’s application of Rule 54(b), the Memorandum

Opinion and Order is not a final decision, subject to certification, because all of the

claims in the case arise out of the same core set of operative facts. The dismissed

Fourth Amendment and state law claims are not “distinct and separable” from the

First Amendment claim. See Old Republic Ins. Co. v. Durango Air Serv., 283 F.3d


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1222, 1225 (10th Cir. 2002)). Rather, Vigil pleads overlapping, alternative legal

theories, seeking similar damages for the same underlying alleged conspiracy to

retaliate against him through the State Defendants’ office searches and their

interaction with law enforcement.

       In the wake of the Court’s Memorandum Opinion, Plaintiff Vigil presently

has a claim for First Amendment retaliation against the State Defendants,

contending that they conspired to conduct unreasonable workplace searches and

assisted law enforcement in the criminal prosecution in retaliation for alleged

protected speech. (See Doc 66 at 31) This claim overlaps with the Fourth

Amendment counts for the office searches and malicious prosecution. All these

claims derive from the same facts Vigil sets forth in the “Factual Background”

section of his complaint. (See Second Amended Complaint, Doc 38 at ¶¶12-56) In

the Fourth Amendment counts, Vigil asserts that the office searches and ensuing

criminal prosecutions were “retaliatory” against him. (Id. at ¶¶ 37, 104-105, 113-

114) Vigil then later alleges that the very same conduct constitutes retaliation for

his First Amendment allegations. (Id. at ¶¶129-130, 137-138). Vigil also avers that

all of this conduct is a coordinated conspiracy against him. (Id. at ¶¶47-50, 54, 102,

104, 113-115, 129).

       Further, all of the federal Section 1983 counts coalesce around the element

that each individual defendant be acting “under color of law” for each act of

retaliation. For example, to establish a Section 1983 claim against State Defendant

Antonio Coca under any of the alleged legal theories, plaintiff Vigil must show that


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Coca acted under color of law in engaging a particular retaliatory act related to the

office searches or the criminal prosecution. The same is true for each state

defendant.

       Thus, these federal legal remedies are not “separate and discrete” for the

purposes of the Rule 54(b) finality requirement. See Old Republic Ins. Co., 283 F.3d

at 1225. Although there may be some discrete questions in the First Amendment

context2, the allegations of retaliation through the workplace searches and the

criminal prosecution predominate in each theory. Such “[i]nterrelated legal claims

and alternative theories for recovery should be litigated together and appealed

together.” Jordan v. Pugh, 425 F.3d 820, 829 (10th Cir. 2005).

4. Vigil Has Not Shown Good Cause For The Court To Determine That There Is
   “No Just Reason For Further Delay.”

       Simply put, it does not make sense for the Court of Appeals to take up an

appeal concerning a single element of a malicious prosecution claim when other

claims arising from a shared set of operative facts are still pending in district court.

In many cases -- if not most -- some claims are dismissed before trial. Radian Asset

Assurance Inc. v. Coll. of the Christian Bros. of N.M., 2011 U.S. Dist. LEXIS 14437,

2011 WL 10977180, at *64 (J. Browning). “If the Court certifies every claim

dismissed, litigation would be brought to a halt. Unless the issue is seriously in

doubt, the Court should resolve all issues before sending the case to the Court of




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 Such as whether Vigil’s speech is protected or whether the governmental interest in
ensuring a secure behavior healthcare facility outweigh his interests.

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Appeals; the district court should avoid sending issues piecemeal to the court of

appeals.” Id.

       Plaintiff’s motion for a stay of the district court action along with the Rule

54(b) certification tacitly admits as much. There would be little reason for such a

stay if the claims were truly separate and distinct; the claims could be tried

separately. Vigil’s request to pause the case to seek an interlocutory review of a

single ruling midstream is not consistent with the purposes of Rule 54(b) finality.

       Moreover, there is “good reason” for delay for Rule 54(b) purposes at this

stage. The State Defendants anticipate that they will file dispositive motions for

qualified immunity by the February 4, 2021 deadline after discovery. (See Doc 72

Order Amending Case Management Deadlines) Resolution of the State Defendants’

qualified immunity defense on the remaining First Amendment claim will likely

afford either plaintiff or defendants a right of an immediate appeal before any trial.3

It would be far more efficient to deny certification now, allow the parties to conduct

discovery and proceed with rulings on dispositive motions. If necessary, an appeal

could go forward before trial but with a more fully developed factual record. “[I]n

the long run,” this approach makes more sense than having an appeal now on only

the probable cause element and then have the case remanded for the defendants to

file dispositive motions on qualified immunity that may lead to rulings and another

pretrial appeal. See Jordan, 425 F.3d at 829.



3Vigil would have a right to appeal an Order dismissing the remaining claim; alternatively,
defendants may immediately appeal an Order denying them qualified immunity.

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       Plaintiff Vigil’s request for certification now also presents a risk of

inconsistent results. Vigil only seeks to appeal the probable cause issue against the

State Defendants. In this posture, the ruling in favor of the County Defendants

remains intact, affording plaintiff the opportunity to appeal that decision as to the

County Defendants later in the case. This is exactly the sort of risk of piecemeal,

repetitive appeals that Rule 54(b) seeks to avoid.

5. Conclusion

       For all these reasons, the Defendants respectfully request that the Court

enter an order denying plaintiff’s motion and for all other appropriate relief.


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                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 29th day of July 2020, I filed the foregoing
State Defendants’ Response Opposing Motion for Entry of a Partial Judgment
electronically through the CM/ECF system, which caused the following parties or
counsel to be served by electronic means, as more fully reflected on the Notice of
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